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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 9:19-cr-80136-RLR

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  BRIAN SIGOUIN,

        Defendant.
  _____________________

        DEFENDANT BRIAN SIGOUIN’S PSR OBJECTIONS AND SENTENCING
                            MEMORANDUM

         COMES NOW the Defendant, Brian Sigouin, by and through undersigned counsel, and

  respectfully submits the following objections to the Pre-Sentence Investigation Report and

  Sentencing Memorandum. In support, the Defendant states the following:

         1. Objection to PSR, paragraph #43: At the age of 20, the Defendant received a withheld

             adjudication with fines and costs assessed for two misdemeanor charges in County

             Court in West Palm Beach. The Defendant respectfully submits that no points should

             be added because the Defendant received a “withheld” of adjudication.              Section

             4A1.2(a)(1) defines “prior sentence” as “any sentence previously imposed upon

             adjudication of guilt, whether by guilty plea, trial or plea of nolo contendere for conduct

             not part of the instant offense.” Therefore, the offense in this paragraph does not

             constitute a “prior sentence.” Combined with the objection in the next paragraph, this

             objection would reduce the sentencing calculation by reducing the Defendant to

             Criminal History Category I, a difference of 16-20 months in federal prison.
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         2. Objection to PSR, paragraph #45: The PSR appears to add two criminal history points

             for one count of misdemeanor DUI. It should be one point.

         3. Objection to PSR, paragraph #26: The Defendant has now supplied his acceptance of

             responsibility statement. Combined with his cooperation with the authorities and his

             waiver of objection and appeal for all four of his motions to suppress evidence, the

             Defendant is requesting a reduction of three points towards his Total Offense Level.

         4. Objection to PSR Paragraph #33:           The Defendant objects to the computer

             enhancement.      Since all offenses of this type now involve a computer, this

             enhancement is no longer relevant. It also constitutes double counting.

         5. The above adjustments would result in a guideline imprisonment range of 78-97

             months.

                               SENTENCING MEMORANDUM

         The sentencing guidelines are no longer mandatory, pursuant to United States vs. Booker,

  125 S. Ct 785 (2005). In the 11th Circuit, the guidelines do not even carry a presumption of

  reasonableness. United States vs. Hunt, 459 F.3d 1180 (11th Cir. 2006).

         In the present case, the following factors support a downward departure or variance: (a)

  Under 4A1.3(b)(1), reliable information, such as the type of criminal offenses and surrounding

  circumstances, indicates the Defendant’s Criminal History Category substantially over represents

  the seriousness of the Defendant’s criminal history or the likelihood that the Defendant will

  commit other crimes.

         (b) The Defendant, at the scene of the execution of the search warrant, provided law

  enforcement with the means to enter a safe, which he knew and stated at that time would lead to


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  the discovery of most of the incriminating evidence to be used against him.

        (c)The Defendant waived his right to object to and appeal adverse rulings on all of his

  motions to suppress. He did this in an effort to further show the Court his acceptance of

  responsibility.

         (d) The Defendant has agreed to all forfeitures suggested by the Government.

         (e)The Defendant does not intend to object to restitution and expects to reach an agreement

  regarding restitution with the Government forthwith.

         (f) The Defendant, in addition to federal statutes, will register under Florida State Law as

  a sex offender. These are very strict rules which, ultimately, are intended to reduce the risk of

  recidivism. State sanctions are not otherwise contemplated by the federal guidelines.

         (g) The Defendant has never harmed or sexually abused a child. He stated upon arrest, “I

  would not be able to live with myself if I had even harmed a child.”

         (h) The Defendant presents a low risk of harm to the community and a low risk of

  recidivism.

         (i) The Defendant suffers a myriad of physical and mental health problems, which require

  continuing treatment: Klinefelter Syndrome, PTSD, ADD, ADHD, Dyslexia and pain from spinal

  cord surgery.

         (j) The Defendant is 33 years old and capable of rehabilitation.

         Based upon these factors, the Defendant respectfully requests this Honorable Court grant

  a downward departure and a downward variance.

                                                              Respectfully submitted,

                                                              /s/Kevin J. Kulik____
                                                              Kevin J. Kulik

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                                                                Attorney for Defendant




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 21, 2020, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF and that the foregoing document is being served

  this day on all counsel of record or pro se parties, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

  are not authorized to receive Notices of Electronic Filing.


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                                                        By:/s/Kevin J. Kulik___
                                                        Kevin J. Kulik
                                                        Florida Bar No.475841




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